           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                      Plaintiff,      )
                                      )
     vs.                              )      No. 13-03054-10-CR-S-BCW
                                      )
BRANDON E. HINKLEY,                   )
                                      )
                      Defendant.      )


                      REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One and Forfeiture Allegation Three

contained in the Superseding Indictment filed on August 28, 2013.

After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined that the

guilty plea was knowledgeable and voluntary, and that the offense

charged is supported by a factual basis for each of the essential

elements of the offense.     I therefore recommend that the plea of

guilty be accepted and that the Defendant be adjudged guilty and have

sentence imposed accordingly.



Date: February 4, 2014                 /s/ James C. England
                                      JAMES C. ENGLAND
                                      UNITED STATES MAGISTRATE JUDGE




    Case 6:13-cr-03054-BCW   Document 230   Filed 02/04/14   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




    Case 6:13-cr-03054-BCW   Document 230   Filed 02/04/14   Page 2 of 2
